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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                        Plaintiffs,

 v.                                                         Civil Action No. 1:17-2041-RJL

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                        Defendants.



                                     [PROPOSED]
                                 ORDER TO SHOW CAUSE

       Upon consideration of Plaintiffs’ Motion for an Order to Show Cause Why Defendants’

Counsel Should Not Be Sanctioned for Their Back-Channel Outreach to Plaintiffs Despite

Knowing Plaintiffs Are Represented in This Case, Defendants’ Opposition thereto, Plaintiffs’

Reply in support of their Motion, and all relevant filings and arguments, it is hereby ORDERED:

       Plaintiffs’ Motion is GRANTED; and

       Defendants’ counsel-of-record Joshua A. Levy and Rachel M. Clattenburg and

Defendants’ counsel and previous counsel-of-record William (Bill) W. Taylor, III are ORDERED

to Show Cause why they should not be sanctioned for violating D.C. Rules of Professional

Conduct 4.2 and 8.4 and Local Civil Rule 83.15 within fourteen (14) days of the date of this Order.

In showing cause, Mr. Levy, Ms. Clattenburg, and Mr. Taylor shall each declare, under oath:

       •   Whether Mr. Levy and/or Ms. Clattenburg were aware of, authorized, induced, and/or
           encouraged Mr. Taylor’s outreach to Plaintiff Khan’s son-in-law, and, if so, when they
           became aware of, authorized, induced, and/or encouraged that outreach;




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       •   The full circumstances of Mr. Taylor’s outreach to Plaintiff Khan’s son-in-law,
           including how and why that outreach came about; and

       •   Whether Mr. Levy, Ms. Clattenburg, Mr. Taylor, or any of Defendants’ other current
           or former counsel—or anyone acting at their direction or with their knowledge—have
           contacted or attempted to contact anyone other than Plaintiffs’ counsel for the purpose
           of communicating with (or attempting to communicate with) Plaintiffs; if so, they shall
           fully explain the circumstances of those efforts.

The Court finds and holds that the above factual information that Defendants’ counsel are ordered

to provide is not privileged or protected from disclosure by the attorney-client privilege or work-

product doctrine.

       Defendants’ counsel of record are further ORDERED to provide a copy of this Order to

Mr. Taylor.



       SO ORDERED this                day of                        , 2021.




                                                     Richard J. Leon
                                                     Senior United States District Judge




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